Case 22-52950-pmb        Doc 191    Filed 08/09/23 Entered 08/09/23 12:17:10            Desc Main
                                   Document     Page 1 of 21



                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION
 IN RE:                              :    CASE NO. 22-52950-PMB
                                     :
 ATLANTA LIGHT BULBS, INC.,          :    CHAPTER 7
                                     :
                Debtor.              :    JUDGE BAISIER
 S. GREGORY HAYS, AS CHAPTER 7       :
 TRUSTEE FOR ATLANTA LIGHT           :
 BULBS, INC., DEBTOR,                :
                                     :
        Plaintiff,                   :
 v.                                  :    Adv. Pro. No. 23-05043-pmb
                                     :
 OSRAM SYLVANIA INC.,                :
                                     :
        Defendant.                   :

       NOTICE OF HEARING ON MOTION TO APPROVE COMPROMISE AND
        SETTLEMENT BETWEEN TRUSTEE AND OSRAM SYLVANIA INC.

         PLEASE TAKE NOTICE THAT S. Gregory Hays, chapter 7 trustee (the “Trustee”) for
 the Estate (the “Estate”) of Atlanta Light Bulbs, Inc., Debtor (“Debtor”) in Bankruptcy Case No.
 22-52950 (the “Bankruptcy Case”), has filed a Motion to Approve Compromise and Settlement
 Between Trustee and OSRAM Sylvania Inc. (the “Motion”) and related papers with the Court
 seeking an order approving a settlement between the Estate and OSRAM Sylvania Inc.
 (“Sylvania”). The Motion is on file with the Clerk of the Court at the address set forth below and
 is available for review at the office of the Clerk, U.S. Bankruptcy Court between 8:00 a.m. and
 4:00 p.m. or online anytime at http://ecf.ganb.uscourts.gov (registered users) or at
 http://pacer.psc.uscourts.gov (unregistered users).

        PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing (the
 “Hearing”) to consider the Motion at 1:10 p.m. on the 5th day of September, 2023, in
 Courtroom 1202, Richard B. Russell Federal Building and U.S. Courthouse, 75 Ted Turner
 Drive, S.W. Atlanta, Georgia 30303, which may be attended in person or via the Court’s
 Virtual Hearing Room. You may join the Virtual Hearing Room through the “Dial-in and
 Virtual Bankruptcy Hearing Information” link at the top of the homepage of the Court’s
 website, www.ganb.uscourts.gov, or the link on the judge’s webpage, which can also be
 found on the Court’s website. Please also review the “Hearing Information” tab on the
 judge’s webpage for further information about the hearing. You should be prepared to
 appear at the hearing via video, but you may leave your camera in the off position until the
 Court instructs otherwise. Unrepresented persons who do not have video capability may
 use the telephone dial-in information on the judge’s webpage.
Case 22-52950-pmb         Doc 191    Filed 08/09/23 Entered 08/09/23 12:17:10               Desc Main
                                    Document     Page 2 of 21



          Your rights may be affected by the Court’s ruling on the Motion. You should read the
 Motion carefully and discuss it with your attorney, if you have one in this bankruptcy case. (If
 you do not have an attorney, you may wish to consult one.) If you do not want the Court to grant
 the relief sought in the Motion, or if you want the Court to consider your views, then you and/or
 your attorney should attend the Hearing. You may also file a written response to the Motion
 with the Clerk at the address stated below, but you are not required to do so. If you file a written
 response, you must attach a certificate stating when, how and on whom (including addresses)
 you served the response. Mail or deliver your response so that it is received by the Clerk at least
 two business days before the Hearing. The address of the Clerk’s Office is: Clerk, U.S.
 Bankruptcy Court, Suite 1340, 75 Ted Turner Drive Street, SW, Atlanta, Georgia 30303. You
 should also mail a copy of your response to the undersigned at the addresses stated below.

        NOTICE IS HEREBY GIVEN THIS 9th day of August, 2023.

                                                LAW OFFICES OF HENRY F. SEWELL JR., LLC

                                                /s/ Henry F. Sewell, Jr.
                                                Henry F. Sewell, Jr.
                                                Georgia Bar No. 636265
                                                Buckhead Centre
                                                2964 Peachtree Road NW, Suite 555
                                                Atlanta, GA 30305
                                                (404) 926-0053
                                                hsewell@sewellfirm.com
                                                Counsel for S. Gregory Hays, as Chapter 7 Trustee
                                                for the Estate of Atlanta Light Bulb, LLC, Debtor




                                                  -2-
Case 22-52950-pmb        Doc 191     Filed 08/09/23 Entered 08/09/23 12:17:10           Desc Main
                                    Document     Page 3 of 21




                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION
 IN RE:                              :    CASE NO. 22-52950-PMB
                                     :
 ATLANTA LIGHT BULBS, INC.,          :    CHAPTER 7
                                     :
                Debtor.              :    JUDGE BAISIER
 S. GREGORY HAYS, AS CHAPTER 7       :
 TRUSTEE FOR ATLANTA LIGHT           :
 BULBS, INC., DEBTOR,                :
                                     :
        Plaintiff,                   :
 v.                                  :    Adv. Pro. No. 23-05043-pmb
                                     :
 OSRAM SYLVANIA INC.,                :
                                     :
        Defendant.                   :

  MOTION TO APPROVE COMPROMISE AND SETTLEMENT BETWEEN TRUSTEE
                     AND OSRAM SYLVANIA INC.

        S. Gregory Hays, chapter 7 trustee (the “Trustee”) for the Estate (the “Estate”) of Atlanta

 Light Bulbs, Inc., Debtor (“Debtor”) in Bankruptcy Case No. 22-52950 (the “Bankruptcy Case”),

 by and through counsel, hereby files, pursuant to 11 U.S.C. § 105 and Rule 9019 of the Federal

 Rules of Bankruptcy Procedure, this Motion to Approve Compromise and Settlement Between

 Trustee and OSRAM Sylvania Inc. (the “Motion”) to request the entry of an order approving a

 settlement between the Trustee and OSRAM Sylvania Inc. (“Sylvania”). In support thereof, the

 Trustee respectfully states as follows:

                                           BACKGROUND

        1.      The Court has jurisdiction over the subject matter herein and the parties hereto

 pursuant to 28 U.S.C. § 1334, along with other related statutes and rules.

        2.      This is a core proceeding as defined by 28 U.S.C. § 157(b)(2)(A).
Case 22-52950-pmb        Doc 191    Filed 08/09/23 Entered 08/09/23 12:17:10            Desc Main
                                   Document     Page 4 of 21



        3.      Halco Lighting Technologies, LLC, Norcross Electric Supply Company and

 Candela Corporation filed an involuntary petition against the Debtor for relief under Chapter 11

 of Title 11 of the United States Code.

        4.      On May 23, 2022, the Court entered an Order for Relief under Chapter 11 of the

 Bankruptcy Code [Doc. No. 21]. On July 7, 2022, the Court entered an order [Doc. No. 109]

 converting the Bankruptcy Case to Chapter 7 and directing the United States Trustee to appoint an

 interim Chapter 7 Trustee in the Bankruptcy Case.

        5.      On July 7, 2022, the United States Trustee appointed S. Gregory Hays as the interim

 Trustee of the Debtor. S. Gregory Hays is the duly appointed and acting permanent Chapter 7

 Trustee in the Bankruptcy Case.

        6.      After an investigation by the Trustee determined that the Estate had certain claims

 against Sylvania, the Trustee initiated Adversary Proceeding No. 23−05043−pmb (the “Adversary

 Proceeding”) to seek the avoidance and recovery of transfers under Sections 544, 547, 550, and

 551 of the Bankruptcy Code (collectively, the “Estate Claims”).

        7.      Sylvania denied any liability in the Adversary Proceeding and asserted various

 defenses to the Estate Claims.

        8.      In order to avoid the cost and uncertainty of further litigation, the Trustee and

 Sylvania negotiated in good faith in an attempt to reach an agreement and compromise regarding

 their respective positions in the Adversary Proceeding.

                      TERMS OF COMPROMISE AND SETTLEMENT

        9.      After significant arms-length negotiations, the Parties desire to settle, upon the

 terms set forth herein, all disputes, claims, issues and controversies between and among Parties

 related to the Estate Claims, subject to notice, hearing and Court approval, pursuant to the




                                               -2-
Case 22-52950-pmb         Doc 191    Filed 08/09/23 Entered 08/09/23 12:17:10                Desc Main
                                    Document     Page 5 of 21



 agreements and terms set forth in the Settlement Agreement attached as Exhibit “A” hereto (the

 “Settlement”).

        10.     As a result of Settlement, the Trustee and Sylvania seek court approval of the

 Settlement Agreement that constitutes, inter alia, a full and final compromise of the claims

 asserted in the Adversary Proceeding.

        11.     The Settlement Agreement is subject to approval by the Court sought in this

 Motion.

        12.     In short, the terms of the Settlement Agreement are that Sylvania shall pay the

 Trustee a one-time payment of Forty-Five Thousand Dollars ($45,000) (the “Settlement

 Payment”) by causing the Settlement Payment to be delivered to the Trustee on or before thirty

 (30) days after the date that the Court enters an order approving the Settlement Agreement (the

 “Approval Order”) in exchange for an allowed claim under 11 U.S.C. § 502(h) and mutual

 releases by the Estate and Trustee. Within ten (10) days following the Approval Order becoming

 a final and non-appealable order and the Trustee receiving the Settlement Payment, the Trustee

 shall file a notice of dismissal of the Adversary Proceeding.

        13.     Any conflict between the Settlement Agreement and the averments of this Motion

 are intended to be construed as provided in the Settlement Agreement, which is attached as Exhibit

 “A” hereto.

                                        BASIS FOR RELIEF

        14.     Rule 9019 authorizes a bankruptcy court to approve compromise and settlements

 at its discretion based on the particular circumstances of the case. “When invoked as a guide to

 judicial action, it means a sound discretion, that is to say, a discretion exercised not arbitrarily or

 willfully, but with regard to what is right and equitable under the circumstances and the law, and




                                                  -3-
Case 22-52950-pmb         Doc 191     Filed 08/09/23 Entered 08/09/23 12:17:10                Desc Main
                                     Document     Page 6 of 21



 directed by the reason and conscience of the judge to a just result.” See Langnes v. Green, 282

 U.S. 531, 541, 51 S. Ct. 243, 247, 75 L. Ed. 520 (1931) (noting that the term discretion “denotes

 the absence of a hard and fast rule).

         15.     When deciding whether to approve a proposed settlement, the bankruptcy courts

 generally consider the following: (a) the probability of success in the litigation; (b) the difficulties,

 if any, to be encountered in the matter of collection; (c) complexity of the litigation involved; (d)

 the expense, inconvenience, and delay necessarily attending the litigation, including the possibility

 that denial of the settlement will cause assets of the estate to be depleted; and (e) the paramount

 interest of the creditors and a proper deference to their reasonable views. See Wallis v. Justice

 Oaks, II, Ltd., 898 F.2d 1544 (11th Cir. 1990), cert. denied, 498 U.S. 959 (1990). The Trustee

 believes that the Settlement is reasonable and in the best interest of the Estate. With respect to the

 Justice Oaks factors, the Trustee respectfully shows as follows:

         a.      The probability of success: The outcome of Adversary Proceeding cannot be

                 predicted with certainty. The Trustee contends that the avoidance and recovery

                 action against Sylvania is factually supported and legally strong; however,

                 documentation and defenses by Sylvania could result in a verdict for Sylvania.

         b.      The difficulties to be encountered in the matter of collection: The Estate of the

                 Debtor is currently administratively solvent and the recovery of the Settlement

                 Payment is necessary to assist in the further liquidation and administration of the

                 Estate of the Debtor. The expenses associated with a protracted litigation of the

                 Adversary Proceeding, which is the responsibility of the Estate, may well be

                 beyond the capability of the assets of the Estate of the Debtor.




                                                   -4-
Case 22-52950-pmb        Doc 191     Filed 08/09/23 Entered 08/09/23 12:17:10               Desc Main
                                    Document     Page 7 of 21



        c.      Complexity of the litigation, Expense, Inconvenience, and Delay: The complexity

                of the litigation and the expense, inconvenience, and delay involved in litigating

                the Adversary Proceeding weigh in favor of settlement. The Settlement Payment

                will provide immediate funds for the benefit of the Estate without incurring

                substantial litigation expenses. Since the Settlement Agreement provides the Estate

                with a proportion of the funds requested by the Trustee, it is in the best interests of

                the Estate to recover the Settlement Payment in an efficient manner pursuant to the

                Settlement Agreement rather than litigating further for a minimal gain. Continued

                prosecution of the claims of the Estate will be expensive to both the Parties due to

                the costs attendant to conducting depositions, calling witnesses and experts,

                litigating the claims of the Estate and defenses of Sylvania to a verdict that may not

                be in favor of the Estate. If pursued, litigation expenses/costs would be significant

                for each of the Parties.

        d.      Deference to views of creditors: The Settlement represents a fair compromise of

                the claims asserted in the Adversary Proceeding. Creditors of the Estate of the

                Debtor should support the Settlement Agreement since the Settlement Agreement

                will enhance the possibility and amount of a dividend to creditors generally.

        16.     Pursuant to Federal Rule of Bankruptcy Procedure 9019(a), the Trustee seeks Court

 approval of the Settlement Agreement attached hereto. The Trustee has evaluated the facts, the

 case law, and the practicalities and believes that the proposed compromise and settlement

 described herein and detailed in the Settlement Agreement is in the best interest of the Estate of

 the Debtor and the creditors thereof.




                                                 -5-
Case 22-52950-pmb          Doc 191    Filed 08/09/23 Entered 08/09/23 12:17:10            Desc Main
                                     Document     Page 8 of 21



        17.     The Trustee reserves the right to provide additional support for the relief requested

 herein at any hearing on this Motion.

        WHEREFORE, the Trustee prays that the Court:

         (a) Authorize the entry by the Trustee of the Settlement Agreement attached to this

              Motion;

         (b) Authorize the Trustee to provide releases to Sylvania as contained in the Settlement

              Agreement;

         (c) Approve in all respects the compromise and settlement between the Trustee and

              Sylvania as contained in the Settlement Agreement attached to this Motion;

         (d) Authorize the execution of the Settlement Agreement and exchange of mutual releases

              and documents set forth therein;

         (e) Enter an Approval Order, similar in form to the Approval Order attached hereto as

              Exhibit “B” granting all the relief requested herein; and

         (f) Grant such other and further relief as is just and appropriate under the circumstances.

        Respectfully submitted this 9th day of August, 2023.

                                                 LAW OFFICES OF HENRY F. SEWELL JR., LLC

                                                 /s/ Henry F. Sewell, Jr.
                                                 Henry F. Sewell, Jr.
                                                 Georgia Bar No. 636265
                                                 Buckhead Centre
                                                 2964 Peachtree Road NW, Suite 555
                                                 Atlanta, GA 30305
                                                 (404) 926-0053
                                                 hsewell@sewellfirm.com
                                                 Counsel for S. Gregory Hays, as Chapter 7 Trustee
                                                 for the Estate of Atlanta Light Bulb, LLC, Debtor




                                                  -6-
Case 22-52950-pmb   Doc 191    Filed 08/09/23 Entered 08/09/23 12:17:10   Desc Main
                              Document     Page 9 of 21




                                    EXHIBIT A
Case 22-52950-pmb        Doc 191 Filed 08/09/23 Entered 08/09/23 12:17:10               Desc Main
                                Document    Page 10 of 21



                 SETTLEMENT AGREEMENT AND MUTUAL RELEASE

        This Settlement Agreement (the “Agreement”) is by and between: (i) S. Gregory Hays,

 not individually, but as Chapter 7 Trustee (“Trustee”) for the Estate (the “Estate”) of Atlanta

 Light Bulbs, Inc., Debtor (“Debtor”) in Bankruptcy Case No. 22-52950 (the “Bankruptcy Case”)

 in the United States Bankruptcy Court for the Northern District of Georgia (the “Court”); and (ii)

 OSRAM Sylvania Inc. (“Sylvania”). The Trustee and Sylvania are individually referred to herein

 as a “Party” and collectively as the “Parties.” The following introductory provisions are true and

 correct and form the basis of this Agreement:

                                          WITNESSETH

        WHEREAS, Halco Lighting Technologies, LLC, Norcross Electric Supply Company and

 Candela Corporation filed an involuntary petition against the Debtor for relief under Chapter 11

 of Title 11 of the United States Code.

        WHEREAS, on May 23, 2022, the Court entered an Order for Relief under Chapter 11 of

 the Bankruptcy Code [Doc. No. 21]. On July 7, 2022, the Court entered an order [Doc. No. 109]

 converting the Bankruptcy Case to Chapter 7 and directing the United States Trustee to appoint an

 interim Chapter 7 Trustee in the Bankruptcy Case.

        WHEREAS, on July 7, 2022, the United States Trustee appointed S. Gregory Hays as the

 interim Trustee of the Debtor. S. Gregory Hays is the duly appointed and acting permanent Chapter

 7 Trustee in the Bankruptcy Case.

        WHEREAS, after an investigation by the Trustee determined that the Estate had certain

 claims against Sylvania, the Trustee initiated Adversary Proceeding No. 23−05043−pmb (the

 “Adversary Proceeding”) to seek the avoidance and recovery of transfers under Sections 544,

 547, 550, and 551 of the Bankruptcy Code (collectively, the “Estate Claims”).
Case 22-52950-pmb         Doc 191 Filed 08/09/23 Entered 08/09/23 12:17:10                  Desc Main
                                 Document    Page 11 of 21



        WHEREAS, Sylvania denied any liability in the Adversary Proceeding and asserted

 various defenses to the Estate Claims.

        WHEREAS, after significant arms-length negotiations, the Parties desire to settle, upon

 the terms set forth herein, all disputes, claims, issues and controversies between and among Parties

 related to the Estate Claims, subject to notice, hearing and Court approval, pursuant to the

 agreements and terms set forth herein (the “Settlement”).

        WHEREAS, the Parties have agreed to toll, stay, and extend applicable discovery in the

 Adversary Proceeding to allow the Parties an opportunity to document and obtain approval of the

 Settlement.

        NOW THEREFORE, in consideration of the promises, releases, agreements, and

 covenants set forth in this Agreement, the Parties hereby stipulate and agree as follows:

 1.     Agreement Subject to Approval by the Court. The Trustee will file a motion (the

 “Approval Motion”) seeking an order of the Court in the Bankruptcy Case (the “Approval

 Order”) that approves this Agreement. This Agreement is contingent upon and shall not be

 enforceable against the Trustee, the Estate, or Sylvania until the entry of a final and non-appealable

 order approving the Agreement. Other than as provided herein, this Agreement shall have no force

 and effect unless and until the Court enters a final order granting the Approval Motion to approve

 this Agreement.

 2.     Settlement Payment. Sylvania shall pay the Trustee a one-time payment of Forty-Five

 Thousand Dollars ($45,000) (the “Settlement Payment”) by causing the Settlement Payment to

 be delivered to the Trustee on or before thirty (30) days after the date that the Approval Order is

 entered by the Court and the receipt by Sylvania of payment instructions and any information

 required for tax or verification purposes.

 3.     Waiver by Sylvania; Allowance of Section 502(h) Claim. As further consideration for
                                                   2
Case 22-52950-pmb        Doc 191 Filed 08/09/23 Entered 08/09/23 12:17:10                  Desc Main
                                Document    Page 12 of 21



 the Trustee to enter the Settlement, except for its claim arising under 11 U.S.C. § 502(h) (discussed

 below), Sylvania hereby waives any right that Sylvania may have to file or assert any objection,

 claim or right in or in any way related to the Bankruptcy Case or the Adversary Proceeding, or

 otherwise or against the Debtor, the Estate, and/or the Trustee. Except for its claim arising under

 11 U.S.C. § 502(h), any and all claims, rights, or objections of Sylvania with regard to the

 Bankruptcy Case or in any way related to the Debtor, Estate, and/or Trustee, are deemed denied,

 not allowed and are waived, released, extinguished and otherwise fully satisfied including, without

 limitation, any general unsecured claims. Pursuant to 11 U.S.C. § 502(h), Sylvania shall be deemed

 to have an allowed non-priority general unsecured claim in the amount of $45,000 (the “Allowed

 Section 502(h) Claim”) upon the Trustee’s receipt and successful deposit of the Settlement

 Payment, and Sylvania shall not be required to file a proof of claim or take any other action with

 respect to the Allowed Section 502(h) Claim.

 4.     No Admission of Liability. The Parties understand that: a) this Agreement is a

 compromise of disputed claims to avoid further dispute, litigation and expense; b) the Settlement

 Payment made hereunder is not to be construed as an admission of any liability for any wrongful

 conduct or any other liability; and c) the Parties do not admit liability of any kind or character to

 anyone or a lack of a claim against anyone by virtue of this Agreement.

 5.     Denial of Approval Order. In the event that the Court denies approval of this Agreement,

 then, unless otherwise agreed to by the Parties, this Agreement shall terminate and be null and

 void and of no further force or effect, and the Parties shall be restored to their respective factual

 and legal positions that existed immediately prior to the execution of this Agreement.

 6.     Release by Sylvania. For and in consideration of among other benefits set forth in this

 Agreement, Sylvania hereby releases, waives and completely discharges the Debtor, the Estate,

 the Trustee and each of their respective current and former affiliates, successors, subsidiaries,
                                                  3
Case 22-52950-pmb        Doc 191 Filed 08/09/23 Entered 08/09/23 12:17:10                  Desc Main
                                Document    Page 13 of 21



 parents, officers, directors, assigns, members, managers, attorneys, and financial advisors

 (collectively, the “Trustee Group”), of and from any and all claims, rights, choses in action, duties

 and causes of action of every kind and character, that Sylvania may now have or hereafter may

 have arising in the future, or may assert against any or all of the Trustee Group for any reason,

 under any theory or pursuant to any cause whatsoever, whether known or unknown, suspected or

 unsuspected, existing or not existing, accrued or not accrued, arising out of, asserted or which

 could have been asserted by Sylvania that relate, directly or indirectly, to the Estate Claims or the

 Adversary Proceeding or any matters specifically attendant thereto that Sylvania may presently

 possess; provided, however, that the obligations, agreements and rights created or expressly

 preserved in this Agreement, including the Allowed Section 502(h) Claim, are not released,

 discharged or waived (the “Sylvania Release”).

 7.     The Estate's Release. Subject to approval by the Bankruptcy Court, effective upon the

 receipt of the Settlement Payment by the Trustee, the Estate and the Trustee (the “Estate Group”)

 hereby release and completely discharge Sylvania and its current and former affiliates,

 subsidiaries, parents, officers, directors, successors, assigns, members, managers, attorneys, and

 financial advisors (the “Sylvania Group”) of and from any and all claims, rights, choses in action,

 duties and causes of action of every kind and character, which any of the Estate Group or the

 Debtor may now have or hereafter may have arising in the future, or may assert against the

 Sylvania Group under any theory or pursuant to any cause whatsoever, whether known or

 unknown, suspected or unsuspected, existing or not existing, accrued or not accrued, including

 claims arising out of the Estate Claims that were or could have been asserted against Sylvania in

 the Adversary Proceeding; provided, however, that the obligations, agreements and rights created

 or expressly preserved in this Agreement are not to be deemed released, discharged or waived (the

 “Estate Release”).
                                                  4
Case 22-52950-pmb         Doc 191 Filed 08/09/23 Entered 08/09/23 12:17:10                   Desc Main
                                 Document    Page 14 of 21



 8.     Full Resolution. This Agreement is intended to fully resolve and settle all claims asserted

 in the Adversary Proceeding between the Parties that exist, whether known or unknown at this

 time, and that could have been asserted by the Parties; provided, however, that the Agreement and

 the Estate Release do not address or impact any claims that may be asserted by the Trustee against

 any parties other than the Sylvania Group.

 9.     Dismissal of Adversary Proceeding. Within ten (10) days following the Approval Order

 becoming a final and non-appealable order and the Trustee receiving the Settlement Payment, the

 Trustee shall file a notice of dismissal of the Adversary Proceeding.

 10.    Assignment, Transfer, or Conveyance. The Parties each warrant, covenant and agree that

 they have made no assignment, transfer, or conveyance, and hereafter will make no assignment,

 transfer, or conveyance in any manner of all or any part of their legal claims, causes in action, legal

 rights of action, or any other right released pursuant to this Agreement.

 11.    Fees and Costs. The Parties shall each bear their respective attorneys’ fees and costs

 relating to the costs associated with the settlement negotiations with regard to any cause of action

 hereby settled and released, and implementation of this Agreement. However, if any action is

 commenced by any party hereto to enforce the provisions of this Agreement, the prevailing party

 shall be entitled to an award, in addition to any other claims or damages, of its costs and expenses

 including attorneys’ fees, in connection with said action.

 12.    Further Documentation. The Parties agree to execute, exchange, and/or file, and/or to

 have their agents execute, exchange, and/or file, any further documents necessary to effectuate the

 terms of this Agreement.

 13.    Execution. This Agreement may be executed in two or more counterparts, each of which

 shall be deemed an original, but all of which together, shall constitute one Agreement that shall be

 binding on the Parties hereto. Signature pages provided by facsimile and electronic signatures shall
                                                   5
Case 22-52950-pmb         Doc 191 Filed 08/09/23 Entered 08/09/23 12:17:10                   Desc Main
                                 Document    Page 15 of 21



 have the same force and effect as original signatures.

 14.    Entire Agreement. This Agreement embodies the entire understanding and terms of the

 agreement between the Parties with respect to the Settlement between the Parties and supersedes

 any prior written and/or verbal agreements between the Parties. No understanding or oral

 representation not incorporated in this Agreement shall survive this Agreement and no promises

 or representations not expressly stated in this Agreement are included by implication. No such

 promises or representations have been made by either of the Parties to any other party nor is either

 of the Parties relying upon any such promise or representation in signing this Agreement. The

 terms of this Agreement shall not be construed against either of the Parties.

 15.    Modification. This Agreement may not be revised, superseded or otherwise modified,

 except in a written document that: a) explicitly refers to this Agreement; b) states explicitly therein

 that the writing is intended to modify this Agreement; and c) is signed by each of the Parties.

 16.    Interpretation, Enforcement and Controlling Law. Any action to enforce or interpret

 this Agreement shall be brought before the Court. The Parties hereto hereby consent and agree: a)

 to the jurisdiction of the Court in the Bankruptcy Case in that regard; and b) that this Agreement

 shall be, to the extent not governed by the Bankruptcy Code, governed and construed in accordance

 with the laws of Georgia. The Parties further agree and represent to each other that this Agreement

 is valid, binding, and enforceable under Georgia law on the terms set forth herein.

 17.    Authority to Execute and Review by Counsel. The Parties hereby represent and warrant

 that the Parties: a) are authorized, or will be authorized by the Approval Order, to execute and

 enter this Agreement and all matters covered by and relating to the Agreement; b) had the

 opportunity to obtain the advice of counsel with regard to this Agreement; c) have read the terms

 and provisions of the Agreement and understand the terms of the Agreement; d) voluntarily accept

 the terms of the Agreement; and e) have entered into this Agreement for reasons of their own and
                                                   6
Case 22-52950-pmb        Doc 191 Filed 08/09/23 Entered 08/09/23 12:17:10                Desc Main
                                Document    Page 16 of 21



 not based upon representations of any other party hereto. The signatories expressly warrant that

 they have carefully read this Agreement and understand its contents and sign this Agreement as

 their own free act.

 18.    Effect of Captions. Captions of the paragraphs of this Agreement are for convenience and

 reference only, and the words contained therein shall in no way be employed to explain, modify,

 amplify or aid in the interpretation, construction or meaning of the provisions of this Agreement.

 19.    Terms and Recitals. The terms of this Agreement are contractual and not mere recitals.

 The recitals themselves at the beginning of this Agreement constitute substantive, bargained for

 provisions that are integral to this Agreement. This written Agreement and the documents

 executed in connection herewith represent the final agreement between the Parties, and may not

 be contradicted by evidence of prior, contemporaneous or subsequent oral agreements by the

 Parties. There are no unwritten oral agreements between the Parties.

 20.    Time is of the Essence. Time is of the essence with respect to the rights and the

 performance of the obligations set forth herein.

                  [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




                                                    7
Case 22-52950-pmb         Doc 191 Filed 08/09/23 Entered 08/09/23 12:17:10             Desc Main
                                 Document    Page 17 of 21



          IN WITNESS WHEREOF, the Parties hereto have executed this Agreement on the latest

 day and the year set forth below.

 BANKRUPTCY ESTATE OF ATLANTA LIGHT BULBS, INC., DEBTOR

 By:
       S. Gregory Hays, not individually, but as Chapter 7 Trustee for the Estate of Atlanta Light
       Bulbs, Inc., Debtor



 OSRAM SYLVANIA INC.

 By:

 Name/Title:




                                                  8
Case 22-52950-pmb       Doc 191 Filed 08/09/23 Entered 08/09/23 12:17:10                Desc Main
                               Document    Page 18 of 21



                                           EXHIBIT B




                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION
 IN RE:                              :    CASE NO. 22-52950-PMB
                                     :
 ATLANTA LIGHT BULBS, INC.,          :    CHAPTER 7
                                     :
                Debtor.              :    JUDGE BAISIER
 S. GREGORY HAYS, AS CHAPTER 7       :
 TRUSTEE FOR ATLANTA LIGHT           :
 BULBS, INC., DEBTOR,                :
                                     :
        Plaintiff,                   :
 v.                                  :    Adv. Pro. No. 23-05043-pmb
                                     :
 OSRAM SYLVANIA INC.,                :
                                     :
        Defendant.                   :

  ORDER GRANTING MOTION TO APPROVE COMPROMISE AND SETTLEMENT
            BETWEEN TRUSTEE AND OSRAM SYLVANIA INC.

        S. Gregory Hays, chapter 7 trustee (the “Trustee”) for the Estate (the “Estate”) of Atlanta

 Light Bulbs, Inc., Debtor (“Debtor”) in Bankruptcy Case No. 22-52950 (the “Bankruptcy Case”),
Case 22-52950-pmb           Doc 191 Filed 08/09/23 Entered 08/09/23 12:17:10                  Desc Main
                                   Document    Page 19 of 21



 filed a Motion to Approve Compromise and Settlement Between Trustee and OSRAM Sylvania Inc.

 (the “Motion”) for: 1) approval of a compromise and settlement (the “Settlement Agreement”)

 between the Trustee and OSRAM Sylvania Inc. (“Sylvania” and, collectively, Sylvania and the

 Trustee are the “Parties”); and 2) authority to provide releases provided therein.

           Following notice to all creditors and parties in interest entitled to notice, no objection was

 filed in opposition to the Motion. On September 5, 2023, the Court held a hearing on the Motion

 at which no creditor or party in interest appeared to oppose the Motion. After thorough

 consideration of the Motion, the Settlement Agreement, the record in this Bankruptcy Case, and

 arguments of counsel for the Trustee, this Court finds that the approval of the Settlement

 Agreement as between the Parties is in the best interests of the Estate of the Debtor, the creditors

 of the Debtor, and all parties in interest. Accordingly, for good cause shown, it is hereby:

           ORDERED, that the Motion is GRANTED and that entry by the Trustee into the Settlement

 Agreement attached to the Motion on file with the Court was authorized and proper; and it is

 further

           ORDERED, that terms of the compromise and settlement between the Trustee and Sylvania

 as contained in the Settlement Agreement attached to the Motion are APPROVED; and it is further

           ORDERED, that upon the Trustee’s receipt of the Settlement Payment, Sylvania shall be

 deemed to have an allowed non-priority general unsecured claim against the Estate in the amount

 of $45,000 pursuant to 11 U.S.C. § 502(h), and it is further

           ORDERED, that the Trustee is hereby granted the authority to take any and all steps

 necessary to consummate the compromise and settlement as set forth in the Settlement Agreement

 attached to the Motion and as herein approved, including, but not limited to the exchange of mutual




                                                   -2-
Case 22-52950-pmb       Doc 191 Filed 08/09/23 Entered 08/09/23 12:17:10               Desc Main
                               Document    Page 20 of 21



 releases as detailed in the Settlement Agreement and the execution and exchange of such other and

 further documents to effectuate the Settlement Agreement approved by this Court.

                                    ***END OF ORDER***

                                             Order prepared and presented by:
                                             LAW OFFICES OF HENRY F. SEWELL JR., LLC

                                             /s/ Henry F. Sewell, Jr.
                                             Henry F. Sewell, Jr.
                                             Georgia Bar No. 636265
                                             Buckhead Centre
                                             2964 Peachtree Road NW, Suite 555
                                             Atlanta, GA 30305
                                             (404) 926-0053
                                             hsewell@sewellfirm.com
                                             Counsel for S. Gregory Hays, as Chapter 7 Trustee
                                             for the Estate of Atlanta Light Bulb, LLC, Debtor

 Identification of parties to be served:
 Office of the U.S. Trustee, 362 Richard B. Russell Federal Building, 75 Spring Street SW,
 Atlanta, GA 30303

 Law Offices of Henry F. Sewell, Jr., LLC, c/o Henry F. Sewell, Jr., Buckhead Centre, 2964
 Peachtree Road NW, Suite 555, Atlanta, GA 30305

 Atlanta Light Bulbs, Inc., 2109 Mountain Industrial Blvd, Tucker, GA 30084




                                               -3-
Case 22-52950-pmb        Doc 191 Filed 08/09/23 Entered 08/09/23 12:17:10               Desc Main
                                Document    Page 21 of 21



                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION
 IN RE:                              :    CASE NO. 22-52950-PMB
                                     :
 ATLANTA LIGHT BULBS, INC.,          :    CHAPTER 7
                                     :
                Debtor.              :    JUDGE BAISIER
 S. GREGORY HAYS, AS CHAPTER 7       :
 TRUSTEE FOR ATLANTA LIGHT           :
 BULBS, INC., DEBTOR,                :
                                     :
        Plaintiff,                   :
 v.                                  :    Adv. Pro. No. 23-05043-pmb
                                     :
 OSRAM SYLVANIA INC.,                :
                                     :
        Defendant.                   :

                                 CERTIFICATE OF SERVICE

         This is to certify that on this date a true and correct copy of the foregoing MOTION TO
 APPROVE COMPROMISE AND SETTLEMENT BETWEEN TRUSTEE AND OSRAM SYLVANIA
 INC. was filed with the United States Bankruptcy Court for the Northern District of Georgia's
 Electronic Case Filing System, which sent a copy of the foregoing to all registered parties who
 have filed appearances and requested notices in this case. The foregoing was also deposited in the
 United States Mail with adequate postage affixed thereto and addressed to the following:

 Office of the U.S. Trustee
 362 Richard B. Russell Federal Building             Atlanta Light Bulbs, Inc.
 75 Spring Street SW                                 2109 Mountain Industrial Blvd
                                                     Tucker, GA 30084
 Atlanta, GA 30303

        This 9th day of August, 2023.
                                              LAW OFFICES OF HENRY F. SEWELL JR., LLC

                                              /s/ Henry F. Sewell, Jr.
                                              Henry F. Sewell, Jr.
                                              Georgia Bar No. 636265
                                              Buckhead Centre
                                              2964 Peachtree Road NW, Suite 555
                                              Atlanta, GA 30305
                                              (404) 926-0053
                                              hsewell@sewellfirm.com
                                              Counsel for S. Gregory Hays, as Chapter 7 Trustee
                                              for the Estate of Atlanta Light Bulb, LLC, Debtor
